
PER CURIAM.
Elton Norfolk appeals from the motion court's Judgment denying his amended Motion to Vacate, Set Aside or Correct Judgment and Sentence filed pursuant to Rule 24.0351 without an evidentiary hearing. We have reviewed the briefs of the parties and the record on appeal and conclude the motion court's factual findings and conclusions of law are not clearly erroneous. Rule 24.035(k). An extended opinion would have no precedential value. We have, however, provided a memorandum setting forth the reasons for our decision to the parties for their use only. We affirm the judgment pursuant to Missouri Rule of Civil Procedure 84.16(b).

All rule references are to Mo. R. Crim. P. 2018, unless otherwise indicated.

